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UNITED STATES DISTRICT COURT [= E LO NY
EASTERN DISTRICT OF LOUISIANA

SUPERSEDING INDICTMENT FOR CONSPIRACY TO COMMIT
WIRE FRAUD, WIRE FRAUD, AND NOTICE OF FORFEITURE

 

UNITED STATES OF AMERICA * CRIMINAL NO. 19-219
v. * SECTION: “L”

DAMIAN K. LABEAUD * VIOLATIONS: 18 U.S.C. § 371
a/k/a Damian Kevin Lebeaud 18 U.S.C. § 1343
a/k/a Damien K. Lebeaud * 18 U.S.C. § 2

LUCINDA THOMAS

MARY WADE *

JUDY WILLIAMS
a/k/a Judy Lagarde *

DASHONTAE YOUNG

GENETTA ISREAL *

MARIO SOLOMON
a/k/a Mario Salomon *

LARRY WILLIAMS

*
* * *
The Grand Jury charges that:
COUNT 1

(Conspiracy to Commit Wire Fraud)
A. AT ALL TIMES MATERIAL HEREIN:
1. Defendants DAMIAN LABEAUD, a/k/a Damian Kevin Lebeaud, a/k/a Damien
K. Lebeaud (““LABEAUD”), MARIO SOLOMON, a/k/a Mario Salomon (“SOLOMON”),

and LARRY WILLIAMS (“LARRY WILLIAMS”) resided in New Orleans, Lout OS

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2. Defendants LUCINDA THOMAS (“THOMAS”), MARY WADE (“WADE”),
JUDY WILLIAMS, a/k/a Judy Lagarde (“JUDY WILLIAMS”), and DASHONTAE
YOUNG (“YOUNG”) resided in Houma, Louisiana.

3: Defendant GENETTA ISREAL (“ISREAL”) and Anita Scott (“Scott”) resided in
Houston, Texas.

4. On or about February 13, 2019, Scott died in Houston, Texas.

5. Attorney A and Attorney B were personal injury attorneys licensed to practice in
Louisiana.

6. Attorney A and Attorney B operated a law firm together in New Orleans, Louisiana.

4. The Danziger Bridge and the intersection of Chef Menteur Highway and Downman

Road were located in the Eastern District of Louisiana.

5. Southern Refrigerated Transport, Inc. (“SRT”) was an interstate commercial
trucking company headquartered in Texarkana, Arkansas.

6. Covenant Transportation Group (“Covenant”), headquartered in Chattanooga,
Tennessee, was the parent company that owned SRT.

7. IQS Insurance Risk Retention Group, Inc. (“IQS”) maintained an office in
Chattanooga, Tennessee.

8. IQS insured Covenant and SRT.

9. Southeastern Motor Freight, Inc. (“SMF”) was a commercial trucking company
headquartered in Jefferson, Louisiana.

10. Hudson Specialty Insurance Company (“Hudson”) maintained offices throughout

the United States and Canada.
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11. Napa River Insurance Services (“NAPA”) was a wholly owned subsidiary of
Hudson.

12. NAPA provided claims and risk management for Hudson clients including SMF.

13. NAPA maintained an office in Indianapolis, Indiana.

14. | Hudson insured SMF, and NAPA provided claims management for SMF.

15. Chase Bank (“Chase”) was the U.S. consumer banking business of JP Morgan
Chase & Co., a global financial services firm with operations worldwide.

16. | Negotiated Chase checks that were deposited or cashed were converted into an
electronic image and then electronically sent to one of three Chase data centers located in
Michigan, Illinois, or Delaware.

17. Covenant maintained a bank account with Chase.

18. IberiaBank (“Iberia”) was a domestic financial holding company with
approximately 190 bank branch offices located throughout the southern United States.

19. Iberia operated a branch location at 2401 Canal Street in New Orleans, Louisiana,
in the Eastern District of Louisiana.

20. Cashed or deposited Iberia checks resulted in electronic wire communications from
Louisiana to the Federal Reserve in Atlanta, Georgia.

21. Attorney A maintained a bank account with Iberia.

22. On or about March 6, 2018, Attorney A filed a Petition for Damages in the Civil
District Court for the Parish of Orleans, State of Louisiana (“CDC”), Case No. 2018-2189, on

behalf of JUDY WILLIAMS and WADE (“Williams & Wade Lawsuit”).
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23. On or about March 8, 2018, the Williams & Wade Lawsuit was removed to the U.S.
District Court for the Eastern District of Louisiana and assigned Civil Action No. 18-2472, Section
“A.”

24. Onor about June 5, 2018, Attorney A filed a Petition for Damages in CDC, Case
No. 2018-5540, on behalf of THOMAS (“Thomas Lawsuit”).

25. On or about June 8, 2018, the Thomas Lawsuit was removed to the U.S. District
Court for the Eastern District of Louisiana and assigned Civil Action No. 18-6113, Section “A.”

26. Onor about June 12, 2018, Attorney B filed a Petition for Damages in CDC, Case
No. 2018-5803, on behalf of LARRY WILLIAMS, ISREAL, and Scott (“Larry Williams
Lawsuit”).

B. THE CONSPIRACY:

Beginning at a time unknown, and continuing until the date of this Superseding Indictment,
in the Eastern District of Louisiana and elsewhere, the defendants, DAMIAN LABEAUD,
LUCINDA THOMAS, MARY WADE, JUDY WILLIAMS, DASHONTAE YOUNG,
GENETTA ISREAL, MARIO SOLOMON, LARRY WILLIAMS, and others known and
unknown to the Grand Jury, willfully and knowingly did combine, conspire, confederate, and agree
to devise a scheme and artifice to defraud and to obtain money and property from insurance
companies and trucking companies by means of materially false and fraudulent pretenses,
representations, and promises, by use of interstate wire transmissions, in violation of Title 18,
United States Code, Section 1343.

Cc. THE SCHEME TO DEFRAUD:
It was part of the scheme and artifice to defraud that, before on or about June 6, 2017,

Attorney A and LABEAUD met at a restaurant in New Orleans. During their meeting, Attorney
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A and LABEAUD agreed that Attorney A would pay LABEAUD $1,000 per passenger for staged
and legitimate accidents with tractor-trailers. Attorney A and LABEAUD agreed that Attorney A
would pay $500 per passenger for staged and legitimate accidents that did not involve tractor-
trailers.

It was further part of the scheme and artifice to defraud that Attorney A knew LABEAUD
was staging accidents.

It was further part of the scheme and artifice to defraud that Attorney A paid LABEAUD
for at least forty (40) illegally staged tractor-trailer accidents.

It was further part of the scheme and artifice to defraud that LABEAUD and Attorney A
would discuss the staging of accidents before they happened.

It was further part of the scheme and artifice to defraud that Attorney A directed
LABEAUD to change the locations of the staged accidents, to vary the number of passengers, to
avoid talking to the police, and to avoid cameras.

It was further part of the scheme and artifice to defraud that Attorney A would advance
LABEAUD thousands of dollars for accidents and would instruct LABEAUD that he owed
Attorney A a certain number of accidents based on the amount of money advanced.

The June 6, 2017, Staged Accident

It was further part of the scheme and artifice to defraud that, on or about June 6, 2017,
THOMAS, WADE, JUDY WILLIAMS, and YOUNG drove THOMAS’ 2009 Chevrolet
Avalanche (“Avalanche”) from Houma, Louisiana, to a Burger King restaurant in New Orleans
where they met with LABEAUD and agreed to stage an automobile accident in order to obtain

money through fraud.
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It was further part of the scheme and artifice to defraud that THOMAS, WADE, JUDY
WILLIAMS, and YOUNG agreed to allow LABEAUD to drive THOMAS’ Avalanche.

It was further part of the scheme and artifice to defraud that LABEAUD drove THOMAS,
WADE, JUDY WILLIAMS, and YOUNG, in the Avalanche, to locate another vehicle to collide
with in the area of Chef Menteur Highway and Downman Road.

It was further part of the scheme and artifice to defraud that, at approximately 12:30 P.M.,
LABEAUD, while driving east on Chef Menteur Highway, observed a 2017 Freightliner tractor-
trailer operated by SRT merging onto Chef Menteur Highway, and that LABEAUD intentionally
collided with the SRT tractor-trailer.

It was further part of the scheme and artifice to defraud that LABEAUD exited THOMAS’
Avalanche after the collision and told THOMAS to get behind the wheel of the Avalanche to make
it appear that THOMAS was driving the vehicle at the time of the staged accident.

It was further part of the scheme and artifice to defraud that SOLOMON picked up
LABEAUD after LABEAUD fled from the Avalanche.

It was further part of the scheme and artifice to defraud that THOMAS contacted the New
Orleans Police Department (“NOPD”) to report that she had been in an automobile accident.

It was further part of the scheme and artifice to defraud that THOMAS falsely reported to
the NOPD that she had been the driver of the Avalanche and that the tractor-trailer had struck her
vehicle.

It was further part of the scheme and artifice to defraud that LABEAUD and SOLOMON
returned to the scene of the staged accident and made a false statement to the NOPD that they had

witnessed the accident and claimed the driver of the SRT tractor-trailer had been at fault.
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It was further part of the scheme and artifice to defraud that LABEAUD contacted
Attorney A immediately after the staged accident on June 6, 2017, and arranged a meeting with
LABEAUD, Attomey A, THOMAS, WADE, JUDY WILLIAMS, and YOUNG at the Raising
Cane’s restaurant (“Cane’s”) on Chef Menteur Highway.

It was further part of the scheme and artifice to defraud that Attorney A met with
LABEAUD, THOMAS, WADE, JUDY WILLIAMS, and YOUNG after they finished with the
NOPD at the scene of the staged accident in order to discuss Attorney A’s representation of
THOMAS, WADE, JUDY WILLIAMS, and YOUNG.

It was further part of the scheme and artifice to defraud that Attorney A paid LABEAUD
$7,500.00 on June 6, 2017, for the THOMAS, WADE, JUDY WILLIAMS, and YOUNG staged
accident as well as for another accident.

It was further part of the scheme and artifice to defraud that Attorney A demanded
approximately $1,000,000.00 per plaintiff in settlement for THOMAS, JUDY WILLIAMS, and
WADE.

It was further part of the scheme and artifice to defraud that on or about March 6, 2018,
Attorney A filed the Williams & Wade Lawsuit in CDC.

It was further part of the scheme and artifice to defraud that on or about June 5, 2018,
Attorney A filed the Thomas Lawsuit in CDC.

It was further part of the scheme and artifice to defraud that WADE, JUDY WILLIAMS,
and THOMAS were treated by doctors and healthcare providers who are known to the Grand Jury

at the direction of Attorney A.
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It was further part of the scheme and artifice to defraud that THOMAS underwent neck
surgery because Attorney A told her that she would get more money through the lawsuit if she had
the surgery.

It was further part of the scheme and artifice to defraud that Attorney A contacted
LABEAUD because Attorney A was worried about a telephone call made by WADE to
LABEAUD prior to the staged accident and Attorney A told LABEAUD to contact THOMAS
and WADE to instruct them to “get their stories straight.” During a subsequent meeting, Attorney
A gave LABEAUD an envelope containing phone records, pleadings, and depositions establishing
THOMAS and WADE lied under oath in their September 13, 2018, depositions.

It was further part of the scheme and artifice to defraud that Attorney A met with
THOMAS and WADE at a fast-food restaurant outside of New Orleans where Attorney A
suggested to THOMAS and WADE a fraudulent scenario to explain a telephone call from WADE
to LABEAUD prior to the staged accident.

It was further part of the scheme and artifice to defraud that on or about April 3, 2019,
Attorney A directed THOMAS, WADE, and JUDY WILLIAMS to terminate Attorney A from
representing them in the lawsuit.

It was further part of the scheme and artifice to defraud that on April 9, 2019, THOMAS,
WADE, and JUDY WILLIAMS each provided false testimony in subsequent depositions taken
in conjunction with the lawsuits filed by Attorney A.

The June 12, 2017, Staged Accident

It was part of the scheme and artifice to defraud that, before on or about June 12, 2017,

LABEAUD and LARRY WILLIAMS decided to stage an automobile accident in order to obtain

money through fraud.
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It was part of the scheme and artifice to defraud that, before on or about June 12, 2017,
LABEAUD told LARRY WILLIAMS that he had an attorney, Attorney A, who would handle
everything.

It was further part of the scheme and artifice to defraud that ISREAL and Scott traveled
from Houston, Texas, to New Orleans, Louisiana, to meet with LARRY WILLIAMS.

It was further part of the scheme and artifice to defraud that LARRY WILLIAMS
borrowed a 2005 Chevrolet Trailblazer (“Trailblazer”) from a person known to the Grand Jury.

It was further part of the scheme and artifice to defraud that LARRY WILLIAMS agreed
to allow LABEAUD to drive LARRY WILLIAMS’ Trailblazer.

It was further part of the scheme and artifice to defraud that LABEAUD drove LARRY
WILLIAMS’ Trailblazer to the Danziger Bridge and parked the Trailblazer in the eastbound far
right-lane on Chef Menteur Highway.

LABEAUD, LARRY WILLIAMS, ISREAL, and Scott waited in the Trailblazer to
locate a tractor-trailer to collide with in the area of Chef Menteur Highway and the Danziger
Bridge.

It was further part of the scheme and artifice to defraud that SOLOMON waited in his
Chevrolet Silverado pick-up truck on the Danziger Bridge immediately behind the Trailblazer
operated by LABEAUD.

It was further part of the scheme and artifice to defraud that, at approximately 11:30 A.M.,
LABEAUD located and intentionally collided with a 2015 Peterbilt tractor-trailer owned by SMF
driving east on Chef Menteur Highway.

It was further part of the scheme and artifice to defraud that LABEAUD exited the

Trailblazer after the collision and told LARRY WILLIAMS to get behind the wheel of the
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Trailblazer to make it appear that LARRY WILLIAMS was driving the vehicle at the time of the
staged accident.

It was further part of the scheme and artifice to defraud that LARRY WILLIAMS falsely
reported to the NOPD that he had been the driver of the Trailblazer and that the tractor-trailer had
struck his vehicle.

It was further part of the scheme and artifice to defraud that SOLOMON picked up
LABEAUD after LABEAUD fled from the Trailblazer.

It was further part of the scheme and artifice to defraud that LABEAUD contacted
Attorney A and arranged a meeting with LABEAUD, Attorney A, LARRY WILLIAMS,
ISREAL, and Scott at Attorney A’s office.

It was further part of the scheme and artifice to defraud that Attorney A paid LABEAUD
$5,000.00 on or about June 30, 2017.

It was further part of the scheme and artifice to defraud that on or about June 12, 2018,
Attorney B filed the Larry Williams Lawsuit in CDC.

It was further part of the scheme and artifice to defraud that on or about September 14,
2018, Attorney B demanded approximately $60,000.00 in settlement for Scott and approximately
$56,155.00 in settlement for ISREAL.

It was further part of the scheme and artifice to defraud that LARRY WILLIAMS,
ISREAL, and Scott were treated by doctors and healthcare providers who are known to the Grand
Jury at the direction of Attorney A.

It was further part of the scheme and artifice to defraud that LARRY WILLIAMS
underwent shoulder surgery because Attomey A told him that he would get more money through

the lawsuit if he had the surgery.

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It was further part of the scheme and artifice to defraud that LARRY WILLIAMS and
ISREAL each provided false testimony in depositions taken in conjunction with the lawsuit filed
by Attorney B.

D. OVERT ACTS IN FURTHERANCE OF THE CONSPIRACY:
The June 6, 2017, Staged Accident

The below listed Overt Acts all occurred on or about June 6, 2017, unless noted otherwise.

1. The evening before the staged accident, at approximately 9:03 P.M. on June 5,
2017, LABEAUD called SOLOMON.

Ds At approximately 9:13 A.M., LABEAUD called SOLOMON.

3. In the morning, THOMAS, WADE, JUDY WILLIAMS, and YOUNG drove
THOMAS’ Avalanche from Houma, Louisiana to New Orleans where they met LABEAUD.

4. At approximately 9:44 A.M., SOLOMON called LABEAUD.

De At approximately 10:32 A.M., LABEAUD called SOLOMON.

6. At approximately 10:43 A.M., SOLOMON called LABEAUD.

7. At approximately 10:45 A.M., LABEAUD called SOLOMON.

8. Shortly before the staged accident, at approximately 10:58 A.M., LABEAUD
called Attorney A.

9. At approximately 11:40 A.M., SOLOMON called LABEAUD.

10. Atapproximately 11:53 A.M., LABEAUD called SOLOMON.

11. Atapproximately 12:03 P.M., WADE called LABEAUD.

12. THOMAS, WADE, JUDY WILLIAMS, and YOUNG agreed to allow
LABEAUD to drive THOMAS’ Avalanche in order to stage an auto accident.

13. At approximately 12:12 P.M. and 12:18 P.M., SOLOMON called LABEAUD.

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14. At approximately 12:26 P.M., LABEAUD called SOLOMON.

15. At approximately 12:30 P.M., LABEAUD, while driving cast on Chef Menteur
Highway, intentionally collided with the SRT tractor-trailer.

16. After the staged accident, LABEAUD instructed THOMAS to get behind the
wheel of the Avalanche to make it appear that THOMAS was driving the vehicle at the time of
the staged accident and LABEAUD fled the scene.

17. At approximately 12:30 P.M., THOMAS contacted the New Orleans Police
Department (“NOPD”) to report that she had been in an automobile accident.

18. Atapproximately 12:39 P.M., SOLOMON called LABEAUD.

19. At approximately 12:44 P.M., Attorney A sent a text message to LABEAUD.

20. At approximately 12:44 P.M., LABEAUD called SOLOMON.

21. Atapproximately 12:51 P.M. and 12:53 P.M., SOLOMON called LABEAUD.

22.  Atapproximately 1:03 P.M., LABEAUD called SOLOMON.

23. At approximately 1:06 P.M., LABEAUD called THOMAS.

24. At approximately 1:25 P.M. and 1:29 P.M., SOLOMON called LABEAUD.

25. | LABEAUD rendezvoused with SOLOMON who picked LABEAUD up in
SOLOMON’s silver Chevrolet Silverado pick-up truck.

26. At approximately 1:27 P.M., WADE called LABEAUD.

27. At approximately 1:34 P.M., NOPD responded to the scene of the staged accident
and, shortly thereafter, THOMAS falsely reported to the NOPD that she had been the driver of
the Avalanche and that the SRT tractor-trailer struck her vehicle.

28. At approximately 1:35 P.M., WADE called LABEAUD.

29. At approximately 1:36 P.M. and 1:43 P.M., LABEAUD called Attorney A.

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30. At approximately 1:45 P.M., LABEAUD returned to the scene of the staged
accident with SOLOMON and made a false statement to the NOPD that they witnessed the
accident and claimed that the driver of the tractor-trailer had been at fault.

31.  Atapproximately 1:58 P.M., Attorney A called LABEAUD.

32. At approximately 2:30 P.M., LABEAUD called SOLOMON.

33. At approximately 2:34 P.M. and 2:39 P.M., SOLOMON called LABEAUD.

34. At approximately 3:06 P.M., LABEAUD called Attorney A.

35. | LABEAUD contacted Attorney A and arranged a meeting with him, THOMAS,
WADE, JUDY WILLIAMS, and YOUNG at the Cane’s restaurant on Chef Menteur Highway.

36. Attorney A met with LABEAUD, THOMAS, WADE, JUDY WILLIAMS, and
YOUNG after they finished with the NOPD at the scene of the staged accident in order to discuss
Attorney A’s representation of THOMAS, WADE, JUDY WILLIAMS, and YOUNG.

37. Attorney A paid LABEAUD $7,500.00 for the THOMAS, WADE, JUDY
WILLIAMS, and YOUNG staged accident as well as for another accident.

38. At approximately 3:32 P.M., LABEAUD called Attorney A.

39. At approximately 4:45 P.M., SOLOMON called LABEAUD.

40. On or about June 7, 2017, LABEAUD cashed a $7,500.00 check he received from
Attorney A.

4l. After or about July 5, 2017, THOMAS negotiated a $500.00 check she received
from Covenant.

42. After or about November 27, 2017, Attorney A deposited a $20,000.00 settlement

check for YOUNG that Attorney A received from Covenant.

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43. On or about March 6, 2018, Attorney A filed the Williams & Wade Lawsuit in
CDC.

44, On or about June 5, 2018, Attorney A filed the Thomas Lawsuit in CDC.

45. On or about September 13, 2018, THOMAS, WADE, and JUDY WILLIAMS
each provided false testimony in depositions taken in conjunction with the lawsuits filed by
Attorney A.

46. Before on or about April 9, 2019, Attorney A contacted LABEAUD because
Attorney A was worried about a telephone call made between WADE and LABEAUD prior to
the staged accident and Attorney A instructed LABEAUD to contact THOMAS and WADE to
instruct them to “get their stories straight.” During a subsequent meeting, Attorney A gave
LABEAUD an envelope containing phone records, pleadings, and depositions establishing
THOMAS and WADE lied under oath in their September 13, 2018, depositions.

47. Before on or about April 9, 2019, Attorney A met with THOMAS and WADE at
a fast-food restaurant outside of New Orleans where Attorney A suggested to THOMAS and
WADE a fraudulent scenario to explain a telephone call from WADE to LABEAUD prior to the
staged accident.

48. On or about April 9, 2019, THOMAS, WADE, and JUDY WILLIAMS each
provided false testimony in depositions taken in conjunction with the lawsuits filed by Attorney
A.

49. After or about June 7, 2019, THOMAS deposited a $7,500.00 settlement check she
received from Covenant.

50. After or about June 7, 2019, WADE cashed a $7,500.00 settlement check she

received from Covenant.

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51. After or about June 7, 2019, JUDY WILLIAMS negotiated a $7,500.00 settlement

check she received from Covenant.
The June 12, 2017, Staged Accident
The below listed Overt Acts all occurred on or about June 12, 2017, unless noted otherwise.

1. Before on or about June 12, 2017, LABEAUD and LARRY WILLIAMS decided
to stage an automobile accident in order to obtain money through fraud.

2. Before on or about June 12, 2017, LABEAUD told LARRY WILLIAMS that he
had an attorney, Attorney A, who would handle everything.

3, Approximately two days before the staged accident, ISREAL and Scott traveled
from Houston, Texas, to New Orleans, Louisiana, to meet with LARRY WILLIAMS.

4. LARRY WILLIAMS borrowed a Trailblazer from a person known to the Grand
Jury to use in the staged accident.

5. LARRY WILLIAMS picked up LABEAUD, ISREAL, and Scott in the
Trailblazer.

6. At approximately 10:02 A.M., LABEAUD called SOLOMON.

7. At approximately 10:06 A.M., 10:49 A.M., and 10:54 A.M., SOLOMON called
LABEAUD.

8. At approximately 11:01 A.M., LABEAUD called SOLOMON.

9. Shortly before the staged accident, at approximately 11:21 A.M., LABEAUD
called Attorney A.

10. LABEAUD drove LARRY WILLIAMS’ Trailblazer to the Danziger Bridge and

parked the Trailblazer in the far right-lane heading east on Chef Menteur Highway.

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11. LABEAUD, LARRY WILLIAMS, ISREAL, and Scott waited in the Trailblazer
to locate a tractor-trailer to collide with in the area of Chef Menteur Highway and the Danziger
Bridge.

12. SOLOMON waited in his Chevrolet Silverado pick-up truck on the Danziger
Bridge immediately behind the Trailblazer operated by LABEAUD.

13. At approximately 11:30 A.M., LABEAUD located and intentionally collided with
a 2015 Peterbilt tractor-trailer owned by SMF driving east on Chef Menteur Highway.

14. LABEAUD exited the Trailblazer after the collision and told LARRY
WILLIAMS to get behind the wheel of the Trailblazer to make it appear that LARRY
WILLIAMS was driving the vehicle at the time of the staged accident.

15. After the staged accident, SOLOMON pulled next to the SMF tractor-trailer and
attempted to assert that the SMF tractor-trailer driver was at fault.

16. LARRY WILLIAMS falsely reported to the NOPD that he had been the driver of
the Trailblazer and that the tractor-trailer had struck his vehicle.

17. At approximately 11:37 A.M., LABEAUD called LARRY WILLIAMS.

18. Atapproximately 11:47 A.M., LABEAUD called SOLOMON.

19. SOLOMON picked up LABEAUD after LABEAUD fled from the Trailblazer on
foot.

20. At approximately 12:32 P.M., SOLOMON called LABEAUD.

21. Atapproximately 1:00 P.M., LABEAUD called Attorney A.

22. At approximately 1:01 P.M., LABEAUD called Attorney A and B’s law firm.

23. At approximately 5:41 P.M., SOLOMON called LABEAUD.

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24. LABEAUD contacted Attorney A and arranged a meeting with LABEAUD,
Attorney A, LARRY WILLIAMS, ISREAL, and Scott at Attorney A’s office.

25. At approximately 5:45 P.M., LABEAUD called SOLOMON.

26. At approximately 5:53 P.M., SOLOMON called LABEAUD.

27. On or about June 30, 2017, Attorney A paid LABEAUD $5,000.00.

28. Onor about June 12, 2018, Attorney B filed the Larry Williams Lawsuit in CDC.

29. | Onor about September 14, 2018, Attorney B demanded approximately $60,000.00
in settlement for Scott and approximately $56,155.00 in settlement for ISREAL.

30. LARRY WILLIAMS, ISREAL, and Scott were treated by doctors and healthcare
providers who are known to the Grand Jury at the direction of Attorney A.

31. Attorney A told LARRY WILLIAMS that he would get more money if he had
shoulder surgery.

32. On or about December 20, 2018, LARRY WILLIAMS and ISREAL each
provided false testimony in depositions taken in conjunction with the lawsuits filed by Attorney
B.

All in violation of Title 18, United States Code, Section 371.

COUNTS 2 -7
(Wire Fraud-The June 6, 2017, Staged Accident)

A. AT ALL TIMES MATERIAL HEREIN:

The allegations contained in Parts A, C, and D of Count 1 are hereby re-alleged and
incorporated herein by reference.
B. THE OFFENSE:

On or about the dates and in the approximate amounts listed below, in the Eastern District

of Louisiana and elsewhere, the defendants, DAMIAN LABEAUD, MARIO SOLOMON,

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LUCINDA THOMAS, MARY WADE, JUDY WILLIAMS, DASHONTAE YOUNG, and
others known and unknown to the Grand Jury, for the purpose of executing the scheme and artifice
to defraud set forth in Part C of Count 1, caused to be transmitted by means of a wire
communication in interstate and foreign commerce the writings, signs, signals, pictures, and

sounds described below:

 

COUNT DESCRIPTION OF USE OF WIRE

Unnumbered check, dated June 6, 2017, from Attorney A’s IberiaBank account to
LABEAUD, in the amount of $7,500.00, and cashed on June 7, 2017.

Check No. 49134, dated July 5, 2017, from Covenant’s Chase account to
THOMAS, in the amount of $500.00, and deposited after July 5, 2017.

Check No. 50047, dated November 27, 2017, from Covenant’s Chase account to
4 YOUNG and Attorney A, in the amount of $20,000.00, and deposited into
Attorney A’s Iberia account after November 27, 2017.

Check No. 609228, dated June 7, 2019, from Covenant’s Chase account to
5 THOMAS, in the amount of $7,500.00, and deposited after June 7, 2019.

Check No. 609229, dated June 7, 2019, from Covenant’s Chase account to WADE,
6 in the amount of $7,500.00, and cashed after June 7, 2019.

7 Check No. 609230, dated June 7, 2019, from Covenant’s Chase account to JUDY
WILLIAMS, in the amount of $7,500.00, and negotiated after June 7, 2019.

 

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All in violation of Title 18, United States Code, Sections 1343 and 2.

COUNT 8
(Wire Fraud-The June 12, 2017, Staged Accident)

A. AT ALL TIMES MATERIAL HEREIN:

The allegations contained in Parts A, C, and D of Count | are hereby re-alleged and
incorporated herein by reference.
B. THE OFFENSE:

On or about June 27, 2018, in the Eastern District of Louisiana and elsewhere, the
defendants, DAMIAN LABEAUD, MARIO SOLOMON, LARRY WILLIAMS, GENETTA

ISREAL, and others known and unknown to the Grand Jury, for the purpose of executing the

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scheme and artifice to defraud set forth in Part C of Count 1, caused to be transmitted by means of
a wire communication in interstate and foreign commerce the writings, signs, signals, pictures, and

sounds described below:

 

COUNT DESCRIPTION OF USE OF WIRE

Email sent by M. M., Southeastern Motor Freight, Inc., in Jefferson, Louisiana, to
C. L., Napa River Insurance Services, in Indianapolis, Indiana, attaching the Larry
Williams Lawsuit filed in the Civil District Court for the Parish of Orleans by
Attorney B on June 12, 2018.

 

 

 

 

 

All in violation of Title 18, United States Code, Sections 1343 and 2.

NOTICE OF FORFEITURE

1. The allegations of Counts | through 8 are incorporated by reference as though set
forth fully herein for the purpose of alleging forfeiture to the United States.

2. As aresult of the offenses alleged in Counts | through 8, the defendants, DAMIAN
LABEAUD, LUCINDA THOMAS, MARY WADE, JUDY WILLIAMS, DASHONTAE
YOUNG, GENETTA ISREAL, MARIO SOLOMON, and LARRY WILLIAMS, shall forfeit
to the United States pursuant to Title 18, United States Code, Section 981(a)(1)(C), and Title 28,
United States Code, Section 2461(c), any property real or personal which constitutes or is derived

from proceeds traceable to said offenses.

3. If any of the above-described property, as a result of any act or omission of the
defendants:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or

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e. has been commingled with other property which cannot be subdivided
without difficulty;
the United States shall seek a money judgment and, pursuant to Title 21, United States Code,

Section 853(p), forfeiture of any other property of the defendant up to the value of said property.

ATRUEBILDT) —_

/ FOREPERSON

PETER G. STRASSER
UNITED STATES ATTORNEY

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BRIAN M. KLEBBA
Assistant United States Attorney

 

EDWARD J. RIVERA
SHIRIN HAKIMZADEH
Assistant United States Attorneys

JARED L. HASTEN
Trial Attorney, U.S. Department of Justice

New Orleans, Louisiana
December 5, 2019

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FORM OBD-34

 

No.__19-2
UNITED STATES DISTRICT COURT
Eastern District of Louisiana
Criminal Division

 

 

THE UNITED STATES OF AMERICA
vs.

DAMIAN K. LABEAUD, a/k/a Damian Kevin Lebeaud,
a/k/a Damien K. Lebeaud, LUCINDA THOMAS,
MARY WADE, JUDY WILLIAMS, a/k/a Judy Lagarde,
DASHONTAE YOUNG, GENETTA ISREAL,
MARIO SOLOMON, a/k/a Mario Salomon, LARRY
WILLIAMS

SUPERSEDING INDICTMENT
SUPERSEDING INDICTMENT FOR CONSPIRACY
TO COMMIT WIRE FRAUD, WIRE FRAUD,
AND NOTICE OF FORFEITURE

 

 

VIOLATION: Title 18, U.S.C., Sections 371, 1343, and 2

 

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Assistant United States Attorney
